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   MICHAEL D. LONG (CA State Bar #149475)
 1 901 H Street, Suite 301
   Sacramento, CA 95814
 2 (916) 201-4188
   mike.long.law@msn.com
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   Attorney for KENNETH HERNANDEZ
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 6                               IN THE UNITED STATES DISTRICT COURT

 7                                   EASTERN DISTRICT OF CALIFORNIA

 8
     UNITED STATES OF AMERICA,                            CASE NO. 1:11-CR-0000188
 9
                                   Plaintiff,             STIPULATION AND ORDER AMENDING
10                                                        BRIEFING SCHEDULE ON DEFENDANT’S
                            v.                            MOTION FOR REDUCTION IN SENTENCE AND
11                                                        COMPASSIONATE RELEASE
     KENNETH HERNANDEZ,
12
                                  Defendant.
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                                                      STIPULATION
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            1.      Defendant Kenneth Hernandez filed a pro se motion for reduction in sentence and
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     compassionate release on July 6, 2020. Docket No. 166. On July 9, 2020, the Court to the Federal
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     Defender’s Office and directed the parties to confer by July 14 in an attempt to stipulate to a briefing
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     schedule. Docket No. 167. On July 14, 2020, the Court appointed counsel for the defendant. Docket
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     No. 168. On July 21, 2020. the Court ordered a briefing schedule. Docket No. 170.
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            2.      The parties conferred and agree to the following amended briefing schedule:
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                    a. October 1, 2020: defendant’s supplemental briefing;
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                    b. October 15, 2020: government’s response;
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                    c. October 22,2020: defendant’s reply
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            3. Counsel for the defendant agrees with this request.
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 1          2.     The parties desire additional time for briefing on defendant’s motion. Accordingly, by

 2 this stipulation, the parties now move that:

 3                 a)      The defendant’s supplemental briefing to defendant’s motion, Docket No. 166, be

 4 due on October 1, 2020.

 5                 b)      The government’s opposition or response to defendant’s motion and supplement

 6 be due on October 15, 2020; and

 7                 b)      The defense reply, if any, will be due on October 22, 2020.

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 9          IT IS SO STIPULATED.

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                                                          McGREGOR W. SCOTT
11                                                        United States Attorney
12   Dated: August 24, 2020
                                                          /s/ Kimberly A. Sanchez
13                                                        KIMBERLY A. SANCHEZ
                                                          Assistant United States Attorney
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15
     Dated: August 24, 2020                              /s/ Michael Long
16                                                       MICHAEL LONG
                                                         Counsel for Defendant Kenneth Hernandez
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 1                                         FINDINGS AND ORDER

 2         Based upon the stipulation and representations of the parties, the Court adopts the proposed

 3 revised briefing schedule as follows:

 4                 a)     The defendant’s supplemental briefing to defendant’s motion, Docket No. 166, be

 5 due on October 1, 2020.

 6                 b)     The government’s opposition or response to defendant’s motion and supplement

 7 be due on October 15, 2020; and

 8                 b)     The defense reply, if any, will be due on October 22, 2020.

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10 IT IS SO ORDERED.

11      Dated:    August 24, 2020
                                                     UNITED STATES DISTRICT JUDGE
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